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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA

 v.                                                   Crim. No. 17-cr-10269-WGY

 REGINALD ARBRAHAM,

 Defendant.



                  ASSENTED-TO MOTION FOR A PROTECTIVE ORDER

       Pursuant to Rule 16(d)(1) of the Federal Rules of Criminal Procedure and Rule 116.6(B)

of the Local Rules of the United States District Court for the District of Massachusetts (ALocal

Rules@), the United States of America hereby makes this motion for this Court to enter a protective

order with regard to the detention hearing discovery materials produced by the government

pursuant on September 11, 2017 (hereinafter “discovery materials”). Counsel for the Defendant

assents to this motion.

       In support of this motion, the government states:

       1.       On September 6, 2017, Reginald Abraham was arrested on federal sex trafficking

charges.     The defendant was arraigned on September 12, 2017, and a detention hearing is

scheduled for September 19, 2017, at 3:30 p.m.

       2.       The discovery materials contain identifying information of cooperating witnesses

and victims in this case. Disclosure of the identities of the cooperating witnesses and victims to



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the defendant at this stage in the litigation could create serious risks to the safety of these

individuals.

         3.       Accordingly, the Government requests that the Court enter the following protective

order: upon receipt of the discovery materials, counsel for the Defendant must maintain control

of the discovery materials at all times and must not transfer the materials to his client. Although

counsel may discuss the discovery materials with Defendant, the discovery materials shall not be

left with or given to the Defendant, whether he is incarcerated or released. In addition, counsel

for the defendant may not share the names of cooperating witnesses and victims with the defendant

prior to the detention hearing.



                                               Respectfully submitted,

                                               WILLIAM D. WEINREB
                                               Acting United States Attorney

                                               /s/ Miranda Hooker
                                               MIRANDA HOOKER
                                               Assistant United States Attorney


                                    CERTIFICATE OF SERVICE


      I certify that this document was filed on the date listed below through the ECF system,
which will provide electronic notice to counsel as identified on the Notice of Electronic Filing.

                                                        /s/ Miranda Hooker
                                                       Miranda Hooker
                                                       Assistant United States Attorney

Dated:        September 12, 2017


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